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IN THE DISTRICT COURT OF GRADY COUNTY = LED IN DISTRICT COURT

 

STATE OF OKLAHOMA Grady County, Oklahoma
BRIAN ZALEWSKI, ) JUL 21 2021
Plaintiff, LISA HANNAH, Court Clerk
) By Deputy
v. ) No. CJ-2021- \1
| )
THE CITY OF CHICKASHA, )
Oklahoma, a municipal corporation, )
)
Defendant. )

PETITION

COMES NOW THE PLAINTIFF and for his cause of action herein alleges and

states as follows:

L. The Plaintiffis Brian Zalewski, an adult resident of Grady County, Oklahoma.

2. The Defendant is the City of Chickasha, Oklahoma, a municipal corporation
located in Grady County, Oklahoma.

3, Brian Zalewski was the Fire Chief of the City of Chickasha and head of the
Emergency Services until his wrongful termination by the then City Manager.
Such wrongful termination occurred on or about August 25, 2020.

4, The City, acting through its former City Manager, terminated the employment
of the Plaintiff in retaliation for Plaintiff's exercise of free speech rights under
the First Amendment under Oklahoma’s guarantee of free speech in Art II, §
22 of the Oklahoma Constitution.

De In particular, Plaintiff engaged in protected speech and expression by the
following actions and was fired in retaliation for such actions:

A. Lawfully recording conversations with the former City Manager in

which the City Manager expressed his intention to cut emergency
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EXHIBIT 2
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services for the City and to reduce the level of fire protection. These

matters were of public and political importance to the citizens of the

community. The Plaintiff, acting in his capacity as citizen and not in

the course of any official duties, shared such recorded conversations

with citizens of Chickasha.

B. Directly communicating with City Council members of the City of

Chickasha regarding budget issues. The budget issues involved the

proper operation of the Fire Department and emergency services and

were matters of public and political importance to citizens of

Chickasha. Such communications were made in Plaintiff's capacity as

a citizen and not as an employee as the then City Manager had directed

the Plaintiff to not communicate such information to City Council

members.

C. Refusing to support and for expressing his opposition to a plan to close

a municipal fire station and to eliminate municipal EMS services.

These were matters of public and political importance to the citizens of

Chickasha. In taking such actions, the Plaintiff was not acting as an

employee but as a citizen because he was defying the directive given to

him by the then City Manager.

As the direct result of such actions, the Plaintiff was fired from his

employment and suffered injuries in the form of lost earnings which loss is

continuing into the future together with dignitary harms which includes

humiliation, anxiety and other similar unpleasant emotions for which the

Plaintiff seeks compensation in the form of damages.

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10.

11.

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Termination for violation of the Plaintiff rights of free speech is a violation of
the First Amendment of the United States Constitution made actionable
through 42 U.S.C. § 1983.

Termination for violation of the Plaintiff rights of free speech under the
Oklahoma Constitution is contrary to Oklahoma’s public policy and is
actionable as a Burk tort violation.

Plaintiff submitted a tort claim notice under the Oklahoma Governmental Tort
Claims Act which was received by the Defendant on January 14, 2021.
Defendant denied Plaintiffs tort claim on or about January 25, 2021, which
denial was received thereafter.

This action is timely filed within one hundred and eighty (180) days of both

the date of denial and the receipt of such denial.

WHEREFORE, Plaintiff prays that judgment be entered in his favor and against the

Defendant for the claims asserted in this action together with costs and attorney’s fees.

Respectfully submitted this 16" day of July, 2021.

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